Case 1:21-cr-00119-CJN Document 18-1 Filed 03/31/21 Page 1 of 2




           ATTACHMENT A
             Case 1:21-cr-00119-CJN Document 18-1 Filed 03/31/21 Page 2 of 2
                                                     Tuesday, March 30, 2021 at 16:31:58 Central Daylight Time


Subject: Re: Garret Miller
Date: Thursday, March 11, 2021 at 10:53:39 AM Central Standard Time
From: Nataly Mar@nez
To:      Clint Broden

Counselor           spoke to Garret this morning. They do not have an orthopedist on site. The contracted
orthopedist (Kevin Mason) comes every 4 weeks and he will be there on March 29th. Garret will be seen by
their health admin today but the only thing they will do is give him the same info he has already been given
and give him pain meds. Counselor            also stated that he told Garret that they went as far back as
2016 and nowhere in his ﬁle does it say he has a broken shoulder. So in the event that he does not see the
orthopedist before he gets transferred, he will need to inform medical at his designated facility that he has a
broken shoulder so they can do x-rays, otherwise, he will stay at the boUom of the priority @er.




                                                                                                            Page 1 of 1
